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                                                                       United States District Court
                                                                         Southern District of Texas

                   UNITED STATES DISTRICT COURT                             ENTERED
                                                                            July 06, 2022
                    SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                        HOUSTON DIVISION

BRAY INTERNATIONAL INC.,              § CIVIL ACTION NO.
             Plaintiff,               § 4:22−cv−01637
                                      §
     vs.                              § JUDGE CHARLES ESKRIDGE
                                      §
DELVAL FLOW CONTROLS                  §
USA, LLC,
             Defendant.               §



            SCHEDULING AND DOCKET CONTROL ORDER
The following schedule will control disposition of this case:

1.    10/7/2022              MOTIONS TO ADD NEW PARTIES
                             The party causing the addition of a new party
                             must provide copies of this Order and all
                             previously entered Orders to the new party.

2.    11/8/2022              MOTIONS FOR LEAVE TO AMEND PLEADINGS
                             Any party seeking leave to amend pleadings
                             after this date must show good cause.

3a. 5/9/2023                 EXPERTS (other than attorney's fees)
                             The party with the burden of proof on an issue
                             must designate expert witnesses in writing
                             and provide the required report under Rule
                             26(a)(2).

3b. 6/8/2023                 The opposing party must designate expert
                             witnesses in writing and provide the required
                             report under Rule 26(a)(2).

4.    7/25/2023              COMPLETION OF DISCOVERY
                             Discovery requests are not timely if the
                             deadline for response under the Federal Rules
                             of Civil Procedure falls after this date. Parties
                             may by agreement continue discovery beyond
                             the deadline.
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5.   8/24/2023                D ISPOSITIVE AND NONDISPOSITIVE MOTIONS
                              DEADLINE (except for motions in limine)
                              No party may file any motion after this date
                              except for good cause shown.

6.   10/11/2023               MEDIATION OR SETTLEMENT CONFERENCE
                              BEFORE THE MAGISTRATE JUDGE
                              The parties must complete mediation or other
                              form of dispute resolution.

7.   11/14/2023               DEADLINE    FOR JOINT PRETRIAL ORDER AND
                              MOTIONS IN LIMINE
                              The Joint Pretrial Order must contain the
                              pretrial disclosures required by Rule 26(a)(3).
                              Plaintiff is responsible for timely filing of the
                              complete Joint Pretrial Order. Failure to do so
                              may lead to dismissal or other sanction in
                              accordance with applicable rules.

8.   12/19/2023               DOCKET CALL
                              Docket call will occur at 01:30 PM in
                              Courtroom 8B, United States Courthouse, 515
                              Rusk, Houston, Texas. The Court will not
                              consider documents filed within seven days of
                              docket call. The Court may rule on pending
                              motions at docket call and will set the case for
                              trial as close to docket call as practicable.

9.   Additional orders or limitations relating to disclosures, discovery, or
     pretrial motions:




10. Other matters:
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       Any party wishing to make a discovery or scheduling motion must
    obtain permission before the submission of motion papers. This
    includes any motion to compel, to quash, for protection, or for
    extension. Follow Section 15 of the Court's procedures.
        The parties agree to submit attorney's fees issues to the Court by
    affidavit after resolution of liability and damages.
       In cases referred to the Magistrate Judge for the initial conference,
    the Magistrate Judge has the authority to adjust the scheduling order
    dates.

       Signed on July 6, 2022, at Houston, Texas.
